               IN THE UNITED STATES DISTRICT COUR

          FOR THE MIDDLE DISTRICT OF NORTH CARO


UNITED STATES OF AMERICA

                V.


JASON BLAKE NITSOS                            1:20CR-430 -1
                                                       -
JASON SHUANG XU                               1:20CR 430 -2
AMBER JANA JOHNSON                            1:20CR 430 -3


                           The Grand Jury charges:

     From in or about 2017, continuing up to and including in or about 2019,

the exact dates to the Grand Jurors unknown, in the County of Orange, in the

Middle District of North Carolina, and elsewhere, JASON BLAKE NITSOS,

JASON SHUANG XU, AMBER JANA JOHNSON, and divers other persons,

known and unknown to the Grand Jurors, knowingly and intentionally did

unlawfully conspire, combine, confederate, and agree together and with each

other to commit offenses against the laws of the United States, that is:

      To knowingly, intentionally, and unlawfully distribute qu,antities of a

mixture   and substance     containing a     detectable   amount    of cocaine

hydrochloride, a Schedule II controlled substance within the m eaning of Title

21, Unite d States Code, Section 812; in violation of Title 21, United States

Code, Section 841(a)(l).




          Case 1:20-cr-00430-UA Document 1 Filed 10/26/20 Page 1 of 2
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           All in violation of Title 21, United States Code, Sections 846 and

     841(b)(l)(C).

                                               DATED: October 26, 2020

                                               MATTHEW G.T. MARTIN
                                               United States Attorney


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                                               ~t't&~
                                               First Assistant
                                               United States Attorney




                                           2


               Case 1:20-cr-00430-UA Document 1 Filed 10/26/20 Page 2 of 2
